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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF GEORGIA
                                  COLUMBUS DIVISION


TRUDA ZOBEL,

     Plaintiff,                                  CASE NO.:


-VS-

ALLY FINANCIAL INC.,

     Defendant.

                                     /

                                    COMPLAINT

         COMES NOW Plaintiff, TRUDA ZOBEL, by and through the undersigned

counsel, and sues Defendant, ALLY FINANCIAL INC, and in support thereof

respectfully alleges violations of the Telephone Consumer Protection Act, 47 U.S.C.

§227 et seq. (“TCPA”).

                                   INTRODUCTION

1.       The TCPA was enacted to prevent companies like ALLY FINANCIAL INC from

invading American citizen’s privacy and prevent abusive “robo-calls.”

2.       “The TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132 S.Ct. 740,

745, 181 L.Ed. 2d 881 (2012).

3.       “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the *1256

scourge of modern civilization, they wake us up in the morning; they interrupt our dinner



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at night; they force the sick and elderly out of bed; they hound us until we want to rip the

telephone out of the wall.’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably

intended to give telephone subscribers another option: telling the autodialers to simply

stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

4.      According to the Federal Communications Commission (FCC), “Unwanted calls

and texts are the number one complaint to the FCC. There are thousands of complaints to

the FCC every month on both telemarketing and robocalls. The FCC received more than

215,000 TCPA complaints in 2014." https://www.fcc.gov/document/fact-sheet-consumer-

protection-proposal

                            JURISDICTION AND VENUE


5.      This is an action for damages exceeding Seventy-Five Thousand Dollars

($75,000.00) exclusive of attorney fees and costs.

6.      Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the

TCPA.

7.      Subject matter jurisdiction, federal question jurisdiction, for purposes of this

action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district

courts shall have original jurisdiction of all civil actions arising under the Constitution,

laws, or treaties of the United States; and this action involves violations of 47 U.S.C. §

227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio

v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014)




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8.       The alleged violations described herein occurred in Marion County, Georgia.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as it is

the judicial district in which a substantial part of the events or omissions giving rise to

this action occurred.

                               FACTUAL ALLEGATIONS

9.       Plaintiff is a natural person, and citizen of the State of Georgia, residing in Marion

County, Georgia.

10.      Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir.

2014).

11.      Defendant is a corporation with its principal place of business located at 200

Renaissance Center, 482 B09 C24, Detroit, MI , 48265 and which conducts business in

the State of Georgia through its registered agent, CT Corporation, located at 1201

Peachtree St., N.E., Fulton, Atlanta, GA, 30361.

12.      Plaintiff is the regular user and carrier of the cellular telephone number at issue,

(762) ***-6746, and was the called party and recipient of Defendant’s hereinafter

described calls.

13.      In or about January 2016, Plaintiff began receiving telephone calls to her

 aforementioned cellular telephone number from Defendant seeking to recover an alleged

 debt.

14.      Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified the calls

 were being initiated from, but not limited to, the following phone number: (888) 925-



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2559, (855) 599-5575, (888) 282-3139, (855) 306-6938, (888) 282-3139, (855) 306-

6998, (855) 306-6938, and when that number is called, a pre-recorded message answers

“Thank you for calling ALLY FINANCIAL.”

15.    Upon information and belief, some or all of the calls the Defendant made to

Plaintiff’s cellular telephone number were made using an “automatic telephone dialing

system” which has the capacity to store or produce telephone numbers to be called, using

a random or sequential number generator (including but not limited to a predictive dialer)

or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §

227(a)(1) (hereinafter “autodialer calls”). Plaintiff will testify that she knew it was an

autodialer because of the vast number of calls she received and because when she

answered a call, Plaintiff received pre-recorded messages from Defendant.

16.    None of Defendant’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

17.    In or about January 2016, Plaintiff started receiving daily calls from Defendant to

the aforementioned cellular number, including holidays and weekends, which have

continued to the date of the filing of this Complaint.

18.    On or about June 11, 2016, Plaintiff answered a call from Defendant to her

aforementioned cellular telephone number to which Plaintiff informed Defendant she was

aware of her automobile loan balance, and demanded that Defendant cease all calls.

19.    During the aforementioned call on June 11, 2016, Plaintiff unequivocally revoked

any express consent Defendant may have had for placement of telephone calls to




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 Plaintiff’s aforementioned cellular telephone number by the use of an automatic

 telephone dialing system or a pre-recorded or artificial voice.

20.      On or about June 23, 2016, during a conversation on her cellular telephone with

one of Defendant’s agent/representatives, Plaintiff demanded that Defendant cease all

calls.

21.      Each subsequent call the Defendant made to the Plaintiff’s aforementioned

cellular telephone number was done so without the “express consent” of the Plaintiff.

22.      Each subsequent call the Defendant made to the Plaintiff’s aforementioned

 cellular telephone number was knowing and willful.

23.      Again, on or about July 7, 2016, Plaintiff answered a call from Defendant to her

 aforementioned cellular telephone number, and once more, Plaintiff demanded that

 Defendant cease all calls to her cellular telephone.

24.      Additionally, on or about October 22, 2016, due to continued automated calls to

 her aforementioned cellular telephone number from the Defendant, Plaintiff again

 answered a call from Defendant, and informed the agent/representative of Defendant

 that she had previously informed them not to call her cellular phone, and again

 demanded that Defendant cease placing calls to her aforementioned cellular telephone

 number.

25.      The Plaintiff’s requests for the harassment to end were ignored.

26.      Despite actual knowledge of their wrongdoing, the Defendant continued the

campaign of abuse, calling the Plaintiff despite the Plaintiff revoking any express consent

the Defendant may have had to call her aforementioned cellular telephone number.



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27.     On    at    least   five    (5)   separate   occasions,   Plaintiff   spoke    with    an

agent/representative of Defendant, and demanded that Defendant cease placing calls to

her aforementioned cellular telephone number.

28.     From approximately June 11, 2016 through the filing of this Complaint, or at such

time as will be determined after a thorough review of Defendant’s records, Defendant has

called Plaintiff’s aforementioned cellular telephone on a daily basis, despite Plaintiff’s

request for the calls to stop.

29.     From approximately June 11, 2016 through the filing of this Complaint,

Defendant     has    placed      approximately   one-hundred      (100)   calls   to   Plaintiff’s

aforementioned cellular telephone number.

30.     Due to the amount of automated calls Plaintiff received from Defendant to her

cellular telephone, she was not able to properly catalogue each and every call; however,

attached hereto as Exhibit “A” is a small sampling of the calls Plaintiff received.

31.     Defendant intentionally harassed and abused Plaintiff on numerous occasions by

calling several times in the same hour, during one day, and on back to back days, with

such frequency as can reasonably be expected to harass.

32.     Defendant attempted to collect a debt from the Plaintiff by this campaign of

telephone calls.

33.     Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice to call individuals, just as it did to the Plaintiff’s cellular

telephone in this case.




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34.     Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice, just as it did to the Plaintiff’s cellular telephone in this

case, with no way for the consumer, or Defendant, to remove the number.

35.     Defendant’s corporate policy is structured as to continue to call individuals like

the Plaintiff, despite these individuals informing the Defendant that they do not wish to

be called.

36.     Defendant has had numerous complaints from consumers against them across the

country asking not to be called; however, the Defendant continues to call the consumers.

37.     Defendant has numerous other federal lawsuits pending against them alleging

similar violations as stated in this Complaint.

38.     Defendant willfully and/or knowingly violated the TCPA with respect to the

Plaintiff.

39.     From each and every call placed without express consent by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion

upon her right of seclusion.

40.     From each and every call without express consent placed by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of the occupation of her cellular

telephone line and cellular phone by unwelcome calls, making the phone unavailable for

legitimate callers or outgoing calls while the phone was ringing from Defendant call.

41.     From each and every call placed without express consent by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary expenditure of her time.

Plaintiff had to waste time to deal with missed call notifications and call logs that reflect



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the unwanted calls. This also impaired the usefulness of these features of Plaintiff’s

cellular phone, which are designed to inform the user of important missed

communications.

42.    Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone was an injury in the form of a nuisance and annoyance to the Plaintiff. For

calls that were answered, Plaintiff had to go to the unnecessary trouble of answering

them. Even for unanswered calls, Plaintiff had to deal with missed call notifications and

call logs that reflected the unwanted calls. This also impaired the usefulness of these

features of Plaintiff’s cellular phone, which are designed to inform the user of important

missed communications.

43.    Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell phone’s

battery power.

44.    Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone resulted in the injury of a trespass to Plaintiff’s chattel, namely her cellular

phone and her cellular phone services.

45.    As a result of the calls described above, Plaintiff suffered an invasion of privacy.

Plaintiff was also affected in a personal and individualized way by stress, anxiety, and

depression.




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                                            COUNT I
                                     (Violation of the TCPA)

46.     Plaintiff fully incorporates and realleges paragraphs one (1) through forty five

(45) as if fully set forth herein.

47.     Defendant willfully violated the TCPA with respect to the Plaintiff, especially for

each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff notified

Defendant that she wished for the calls to stop.

48.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s cellular

telephone using an automatic telephone dialing system or prerecorded or artificial voice

without Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §

227(b)(1)(A)(iii).

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

triable and judgment against Defendant for statutory damages, punitive damages, actual

damages, treble damages, enjoinder from further violations of these parts and any other

such relief the court may deem just and proper.



                                                    Respectfully submitted,

                                                /s/ Octavio “Tav” Gomez
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